                                                        Case 2:23-cv-07633-SVW-MAA Document 43 Filed 07/02/24 Page 1 of 4 Page ID #:488



                                                                1   AARON J. MOSS (SBN 190625)
                                                                    AMoss@ggfirm.com
                                                                2   JOSHUA M. GELLER (SBN 295412)
                                                                    JGeller@ggfirm.com
                                                                3   GREENBERG GLUSKER FIELDS CLAMAN &
                                                                    MACHTINGER LLP
                                                                4   2049 Century Park East, Suite 2600
                                                                    Los Angeles, California 90067
                                                                5   Telephone: 310.553.3610
                                                                    Fax: 310.553.0687
                                                                6
                                                                    Attorneys for Defendant Discovery
                                                                7   Communications, LLC
                                                                8
                                                                                                  UNITED STATES DISTRICT COURT
                                                                9
                                                                                                 CENTRAL DISTRICT OF CALIFORNIA
                                                               10
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11
                                                                    ESTATE OF JERRY A. SPOLAR, a                Case No. 2:23-cv-07633-JFW-MRW
                                                               12   deceased individual; and TONNY JILL
                          2049 Century Park East, Suite 2600




                                                                    WILLIAMSON, an individual,                  STIPULATION TO EXTEND TIME
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13                                               TO RESPOND TO FIRST
                                                                                            Plaintiffs,         AMENDED COMPLAINT
                                                               14
                                                                    v.
                                                               15
                                                                    DISCOVERY COMMUNICATIONS,                   Date Action Filed: September 13, 2023
                                                               16   LLC, a Delaware limited liability
                                                                    company,                                    FAC Served: June 25, 2024
                                                               17
                                                                                            Defendants.         Current Response Date: July 9, 2024
                                                               18
                                                                                                                New Response Date: August 8, 2024
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                                                                                                                                   STIPULATION TO EXTEND
                                                                                                                                       TIME TO RESPOND TO
                                                                                                                               FIRST AMENDED COMPLAINT
                                                                    83891-00023/5176681.3
                                                        Case 2:23-cv-07633-SVW-MAA Document 43 Filed 07/02/24 Page 2 of 4 Page ID #:489



                                                                1            Plaintiffs Estate of Jerry A. Spolar and Tonny Jill Williamson
                                                                2   (collectively, “Plaintiffs”) and Defendant Discovery Communications, LLC
                                                                3   (“Discovery”) by and through their respective counsel, hereby stipulate as
                                                                4   follows:
                                                                5                                             RECITALS
                                                                6            A.        Plaintiffs filed their Complaint in the above-captioned action on
                                                                7   September 13, 2023.
                                                                8            B.        Plaintiffs served Discovery with the Summons and Complaint on May
                                                                9   6, 2024.
                                                               10            C.        The Parties agreed to an extension of Discovery’s time to respond to
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11   the initial Complaint from May 28, 2024 through and including June 27, 2024.
                                                               12            D.        The Parties met and conferred on June 17, 2024 to discuss Discovery’s
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




                                                               13   intention to bring a motion to dismiss under Fed. R. Civ. Pro. 12(b)(6).
                                                               14            E.        On June 25, 2024, Plaintiffs filed a First Amended Complaint.
                                                               15            F.        Pursuant to Fed. R. Civ. Pro. 15(a)(3), Discovery is required to
                                                               16   respond by July 9, 2024.
                                                               17            G.        Discovery has requested and Plaintiffs have agreed to an extension of
                                                               18   Discovery’s time to respond to the First Amended Complaint by 30 days, from July
                                                               19   9, 2024 through and including August 8, 2024.
                                                               20            H.        This extension of time is warranted because Discovery needs
                                                               21   additional time to evaluate the allegations in the First Amended Complaint in light
                                                               22   of its anticipated motion to dismiss and to allow the Parties to meet and confer
                                                               23   further in regards to such motion. In addition, Discovery’s lead trial counsel is
                                                               24   presently traveling out of the country until July 3 (see Declaration of Aaron J.
                                                               25   Moss, Dkt. No. 37-1).
                                                               26   //
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                                                                                                                                         STIPULATION TO EXTEND
                                                                                                                    2                        TIME TO RESPOND TO
                                                                                                                                     FIRST AMENDED COMPLAINT
                                                                    83891-00023/5176681.3
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                                                                1                                     STIPULATION
                                                                2            NOW THEREFORE, by and through their respective counsel of record,
                                                                3   Plaintiffs and Discovery herby stipulate and agree that Discovery’s response to the
                                                                4   First Amended Complaint shall be due on August 8, 2024.
                                                                5
                                                                6            IT IS SO STIPULATED.
                                                                7
                                                                8   DATED: July 2, 2024                   GREENBERG GLUSKER FIELDS
                                                                                                          CLAMAN & MACHTINGER LLP
                                                                9
                                                               10
                                                                                                          By: /s/ Joshua M. Geller
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                            AARON J. MOSS (SBN 190625)
                                                                                                             JOSHUA M. GELLER (SBN 295412)
                                                               12                                            Attorneys for Defendant Discovery
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067




                                                                                                             Communications, LLC
       & MACHTINGER LLP




                                                               13
                                                               14   DATED: July 2, 2024                   EDMONDSON IP LAW
                                                               15
                                                               16                                         By: /s/ J. Curtis Edmondson
                                                               17                                            J. CURTIS EDMONDSON (SBN
                                                                                                             236105)
                                                               18                                            Attorneys for Estate of Jerry A. Spolar
                                                                                                             and Tonny Jill Williamson
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                                                                1                                     ATTESTATION
                                                                2            I, Joshua M. Geller, am the ECF user whose ID and password are being used
                                                                3   to file this document. In compliance with C.D. Cal. Civ. L.R. LR 5-4.3.4(a)(2)(i), I
                                                                4   hereby attest that concurrence in the filing of the document has been obtained from
                                                                5   each of the other signatories which shall serve in lieu of their signatures on the
                                                                6   document.
                                                                7
                                                                8   DATED: July 2, 2024                    GREENBERG GLUSKER FIELDS
                                                                                                           CLAMAN & MACHTINGER LLP
                                                                9
                                                               10
                                                                                                           By: /s/ Joshua M. Geller
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                             AARON J. MOSS (SBN 190625)
                                                                                                              JOSHUA M. GELLER (SBN 295412)
                                                               12                                             Attorneys for Defendant Discovery
                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067




                                                                                                              Communications, LLC
       & MACHTINGER LLP




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